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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

WILLIS TOWERS WATSON; FREBERG
ENVIRONMENTAL, INC.; and INNOVISK
SERVICES, INC.,

Petitioners, : ORDER
V. : 22 CV 9503 (VB)
ANTHONY CARROLL,

Respondent. :
er X

 

Under Rule 18(a)(3) of the SDNY Rules for the Division of Business Among District
Judges, a civil case must be designated for assignment to the White Plains courthouse if:

i. The claim arose in whole or in major part in the Counties of Dutchess, Orange,
Putnam, Rockland, Sullivan, or Westchester (the “Northern Counties”) and at
least one of the parties resides in the Northern Counties; or

ii, | The claim arose in whole or in major part in the Northern Counties and none of
the parties resides in this District.

A civil case may also be designated for assignment to White Plains if:

i. The claim arose outside this district and at least some of the parties reside in the
Northern Counties; or

ii. At least half of the parties reside in the Northern Counties.

Here, petitioners allege respondent resides in Connecticut, the arbitration proceedings
took place in New York County, and the arbitration demand filed by respondent provided for
arbitration in New York City. Petitioners also allege that respondent’s regular office location
was in New York, but do not specify whether the office location was in the Northern Counties.
Therefore, it is not clear whether this case was properly designated to White Plains. |

Accordingly, by November 16, 2022, petitioners’ counsel! shall submit a letter explaining
in detail why this case is properly designated for assignment to the White Plains courthouse
under Rule 18 or acknowledging that it should be reassigned to the Manhattan courthouse.

Dated: November 9, 2022
White Plains, NY
SO ORDERED:

Vill

Vincent L. Briccetti
United States District Judge

 
